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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

                         |
UNITED STATES OF AMERICA |                   Criminal No. 2:19-cr-207-GZS
                         |
          v.             |
                         |
THELL BROWN              |
                         |

               UNOPPOSED BY THE UNITED STATES OF AMERICA

      DEFENDANT’S MOTION TO CONTINUE THE SUPPRESSION HEARING
                          OF JUNE 17, 2021

       NOW COMES the Defendant, Thell Brown, by and through undersigned counsel, and

moves this Honorable Court for a ninety-day continuance of the suppression hearing scheduled

for June 17, 2021. In support of this motion, Thell Brown, via counsel states the following:

           1. AUSA Meghan Connelly poses no objection to this motion and request.

           2. Thell Brown consents and agrees with undersigned counsel’s rationale to move

               for a continuance.

           3. Maine State Police Trooper John Darcy stopped the motor vehicle operated by

               Thell Brown. The constitutionality of the stop is the core suppression issue.

           4. The primary ground for moving for a continuance is the defendant’s need to

               obtain empirical data concerning Trooper John Darcy’s pattern of stopping the

               motor vehicles of non-white drivers.

           5. For approximately ten months the State of Maine Violations Bureau consistently

               led undersigned counsel to believe that it would provide to the defense statistics

               and other data regarding traffic summonses issued by Trooper Darcy.
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           6. In mid-May 2021, the State of Maine Violations Bureau surprisingly advised

              defense counsel that the requested information would not be forthcoming. The

              defense requests additional time to forge a new path to obtain this empirical

              information that would bolster its theory of suppression.

           7. A secondary ground for this motion is that undersigned counsel is scheduled on

              the June 2021 Trial List in York County, Maine for two felony trials: (1) a

              Robbery with the Use of a Dangerous Weapon/ Class A and (2) a 40-count

              Indictment for felony Violation of Conditions of Release/ Class C. Both of these

              State-court clients have been held in custody for over one year each. Defense

              counsel must apportion his time appropriately to prepare for these trials.

           8. A final factor, if not ground, is that, even with the trial scheduling recited in ¶6,

              undersigned counsel may have to travel to Pennsylvania on short notice during

              June 2021. Two family members are hospitalized; one is in serious condition,

              another, elderly relative, is in grave condition.

       The Defendant, via counsel, moves this Honorable Court for a ninety (90) day

continuance of the motion to suppress.



Dated: 28 May 2021                                    Respectfully,

                                              /s/ JOSEPH STANLEY MEKONIS (Bar No. 8947)
                                                     Attorney for Thell Brown
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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE
                             CERTIFICATE OF SERVICE


      I, Joseph Mekonis, Attorney for Thell Brown, hereby certify that I electronically

transmitted and served the foregoing Defendant’s Unopposed Motion to Continue the June 17,

2021 Suppression Hearing with the Clerk of Court and AUSA Meghan Connelly via the

CM/ECF system.



Date: 28 May 2021                        Respectfully,
                                         /s/ JOSEPH STANLEY MEKONIS
                                         Joseph Stanley Mekonis (Bar No. 8947)
                                         Law Office of Joseph Mekonis, P.A.
                                         P.O. Box 679
                                         Saco ME 04072
                                         (207) 283-6610 office
                                         (207) 650-4625 mobile
